                                           STATE OF NEBRASKA

                           @tfirr of tbr Attomry Grnrrul
                                          21 15 STATECAPITOL BUILDING
                                             LINCOLN, NE 68509.8920
                                                   (4O2) 471-2682
                                                TDD (402) 471-2682
                                        FAX (402) 471-3297 or (4o2) 471-4725




MIKE HILGERS                                                                              ERIC J. HAMILTON
ATTORNEY GENERAL                                                                         SOLICITOR GENERAL


                                                March I0,2023


        Michael Gans, Clerk of Court
        United States Court of Appeals for the Eighth Circuit
        Thomas F. Eagleton United States Courthouse
        111 South 10th Street, Room 24.329
        St. Louis, MO 63102

                RE:    State of Nebrasha, et al,. u. Joseph R. Biden, et al., Case No. 22-3179

        Dear Mr. Gans:

                Please take notice   that James A. Campbell should be removed as counsel of
        record for the following Appellants:

        State   of Nebraska,
        State   of Missouri,
        State   of Arkansas,
        State   of Iowa
        State   of Kansas
        State   of South Carolina

        Mr. Campbell has taken a different position and is no longer employed with the Office
        of the Nebraska Attorney General. I, Eric J. Hamilton, have filed an Entry of
        Appearance for the above-listed Appellants.

                                                        Sincerely,

                                                        /s/ Eric J. Hamilton

                                                     Eric J. Hamilton
                                                     Solicitor General




          Appellate Case: 22-3179       Page: 1          Date Filed: 03/10/2023 Entry ID: 5253884
